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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 UNITED STATES OF AMERICA,                       )       Criminal No. 2:19-cr-00441-RMG
                                                 )
                                    Plaintiff,   )
                                                 )
                vs.                              )       DEFENDANT’S MOTION FOR
                                                 )          VARIANCE FROM THE
 AMIR GOLESTAN and MICFO, LLC,                   )        SENTENCING GUIDELINES
                                                 )
                                 Defendants.     )
                                                 )
                                                 )

       Defendant, Amir Golestan, will appear before this Court for sentencing on July 28, 2022.

In addition to the friends and family who have dropped everything and flown in from all over the

world to attend his hearing, many others have submitted letters (Exhibits 1 – 20) and videos for

the court’s consideration.

       The Government’s case against Amir has painted a picture of an unscrupulous businessman

who employed fraud and deceit to achieve success. And while the regrettable actions he took that

led him to this moment were unlawful, as he has acknowledged, they must be viewed in a larger

context. Amir has been working, striving, fighting since he was a young boy to rebuild a life that

was taken from his family amid the Iranian revolution. He has been an outsider—first in Dubai,

then in the United States—who strove to fit in and to keep up in his new home in the United States.

But he did not strive only for himself. As the letters and videos attest, he was devoted to his

children, to his extended family, and to his larger community, supporting charitable organizations

here in the US and even an entire family of orphaned children in Iran.

       These materials and the totality of the circumstances support a mitigated sentence,

consistent with the goals outlined in 18 USC § 3553(a). Counsel will argue at sentencing for a
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variance from the applicable guidelines, for credit toward any sentence of incarceration for the

time spent in family court custody, and for the Court not to upwardly depart.

                                 Respectfully submitted,

                                 NELSON MULLINS RILEY & SCARBOROUGH LLP

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Charleston, South Carolina

July 27, 2022




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